        Case 1:15-cr-00120-JJM-PAS Document 141 Filed 05/02/17 Page 1 of 6 PageID #: 1189

AO 245B (Rev. 11116)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                     DISTRICT OF RHODE ISLAND
                                                                          )
             UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                       Raffaele Marziale                                  )
                                                                          )
                                                                                    Case Number: 1 :15CR00120-03M
                                                                          )         USM Number: 10702-070
                                                                          )
                                                                          )         Joseph J. Voccola, Esq.
                                                                                    Defendant's Attorney
THE DEFENDANT:
~\(pleaded guilty to count(s)          1, 5, 6, 13, and 19 of the Indictment.

D pleaded nolo contendere to count(s)
  which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                             Offense Ended

 18   u.s.c. § 1349                Conspiracy to Commit Bank Fraud
                                                                                                                 November 10,2013



 18 U.S.C. § 1344 and 2            Bank Fraud                                                                                            5,6
                                                                                                                 April 30, 2013



 18 U.S.C. § 1028A and 2           Aggravated Identity Theft                                                                             13, 19
                                                                                                                 September 26, 2013



       The defendant is sentenced as provided in pages 2 through                6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
D Count(s)                                              Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments impos by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material chan s in economic circumstances.




                                                                                                           US District Judge
                                                                          Name and Title ofJudge


                                                                         Date
          Case
AO 245B (Rev. 11/16)1:15-cr-00120-JJM-PAS
                       Judgment in a Criminal Case   Document 141 Filed 05/02/17 Page 2 of 6 PageID #: 1190
                       Sheet 4--Probation
                                                                                                                    2_ of
                                                                                                    Judgment-Page _ _                6
 DEFENDANT: Raffaele Marziale
 CASE NUMBER: 1:15CR00120-03M
                                                            PROBATION

 You are hereby sentenced to probation for a term of:
      3 years of probation as to Counts 1, 5, 6, 13 and 19, to run concurrently with each other.




                                                 MANDATORY CONDITIONS
 1.  You must not commit another federal, state or local crime.
 2.  You must not unlawfully possess a controlled substance.
 3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
     probation and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. (check if applicable)
 4.   ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.   D You must participate in an approved program for domestic violence. (check if applicable)
 7.   D You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
 8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines, or special assessments.


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
         Case 1:15-cr-00120-JJM-PAS Document 141 Filed 05/02/17 Page 3 of 6 PageID #: 1191
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 4A- Probation
                                                                                                 Judgment-Page _ _.:::3_ _ of _ ____:6:....__ _

DEFENDANT: Raffaele Marziale
CASE NUMBER: 1:15CR00120-03M

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
      you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      anangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If notifYing
      the probation officer in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change. If notifYing the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injmy or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer dete1mines that you pose a risk to another person (including an organization), the probation officer may
      require you to notifY the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
      Case 1:15-cr-00120-JJM-PAS Document 141 Filed 05/02/17 Page 4 of 6 PageID #: 1192

AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 4B- Probation
                                                                                             Judgment-Page ~4~ of           6
DEFENDANT: Raffaele Marziale
CASE NUMBER: 1: 15CR00120-03M

                                               ADDITIONAL PROBATION TERMS
 1. The defendant shall spend the first 6 months of probation are on home detention with RF monitoring and will be
 restricted to his residence at all times. Exceptions to home detention: employment, medical treatment, religious services,
 medical treatment, substance abuse or mental health treatment, attorney visits, court appearances, court ordered
 obligations or other activities preapproved by the officer. The defendant shall pay all or part of the cost of monitoring
 based on ability to pay as determined by the probation officer.

 2. The defendant is to provide access to all financial information requested by the supervising probation officer including,
 but not limited to, copies of all federal and state income tax returns. All tax returns shall be filed in a timely manner.

 3. The defendant will not open new lines of credit, which includes the leasing of any vehicle or other property, or use
 existing credit resources without the prior approval of the supervising probation officer until court ordered financial
 obligations have been satisfied.

 4. The defendant will not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of
 $1,000.00 without the approval of the supervising probation officer until all financial obligations imposed by this court have
 been satisfied.

 5. The defendant will not hold employment and or self-employment having fiduciary responsibilities during the
 supervision term without first notifying the employer of the conviction. The defendant will not hold employment and/or
 self-employment having fiduciary responsibilities without approval of the supervising probation officer.

 6. The defendant will cooperate with the U.S. Probation Office in the investigation and approval of any position of
 self-employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved for
 self-employment, the defendant will provide the U.S. Probation Office with full disclosure of self-employment and other
 business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request for
 Self-Employment Records), or as otherwise requested by the U.S. Probation Office.

 7. The defendant shall participate in a program of substance abuse testing, (up to 72 drug tests per year) as directed and
 approved by the Probation Office.

 8. The defendant shall contribute to the cost of all ordered treatment and testing based on ability to pay as determined by
 the probation officer.
         Case
AO 245B (Rev.      1:15-cr-00120-JJM-PAS
              11/16) Judgment in a Criminal Case
                                                         Document      141 Filed 05/02/17 Page 5 of 6 PageID #: 1193
                      Sheet 5 -Criminal Monetary Penalties
                                                                                                         Judgment- Page       5   of       6
DEFENDANT: Raffaele Marziale
CASE NUMBER: 1: 15CR00120-03M
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                    Assessment                JVTA Assessment*                  Fine                            Restitution
TOTALS            $ 500.00                  $ 0.00                            $ 1,000.00                    $    Deferred



~    The determination of restitution is deferred until 8/1/2017       , An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a pattial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
     before the United States is patd.

Name of Payee                                                   Total Loss**               Restitution Ordered            Priority or Percentage




TOTALS                            $                         0.00           $ - - - - - - - - - - - - - - 0.00
                                                                                                         ----


D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The comt determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the         D fine      D restitution.
      D the interest requirement for the       D    fine    D      restitution is modified as follows:

*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April23, 1996.
          Case
AO 245B (Rev. 11116)1:15-cr-00120-JJM-PAS
                       Judgment in a Criminal Case       Document 141 Filed 05/02/17 Page 6 of 6 PageID #: 1194
                       Sheet 6 - Schedule of Payments
                                                                                                               Judgment- Page       6      of           6
 DEFENDANT: Raffaele Marziale
 CASE NUMBER: 1:15CR00120-03M

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     rlJ   Lump sum payment of$         1 ,500.00             due immediately, balance due

             D    not later than                                     , or
             D    in accordance with    D C,        D D,        D E,or          D F below; or
 B     D     Payment to begin immediately (may be combined with              DC,          D D, or      D F below); or

 C     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date ofthis judgment; or

 D     D Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment  to a
             term of supervision; or

 E     D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D     Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetaty penalties is due during
 the period of imprisonment. All criminal monetaty penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetaty penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant numbe1~, Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: ( 1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
